     Case 3:24-cv-00986-E Document 212 Filed 08/20/24              Page 1 of 1 PageID 5649



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

RYAN LLC,                                        §
                                                 §
         Plaintiff,                              §
                                                 §
CHAMBER OF COMMERCE OF THE                       §
UNITED STATES OF AMERICA,                        §
BUSINESS ROUNDTABLE, TEXAS                       §
ASSOCIATION OF BUSINESS, and                     §
LONGVIEW CHAMBER OF COMMERCE,                    §           Civil Action No. 3:24-CV-00986-E
                                                 §
         Plaintiff-Intervenors,                  §
                                                 §
                                                 §
v.                                               §
                                                 §
FEDERAL TRADE COMMISSION,                        §
                                                 §
         Defendant.                              §


                                      FINAL JUDGMENT

         Having GRANTED Ryan and Plaintiff-Intervenors’ Motions for Summary Judgment,

(ECF Nos. 166, 168), and DENIED the FTC’s Motion for Summary Judgment, (ECF No. 184),

the Court has adjudicated all of Plaintiffs’ claims. The Court sets aside the Non-Compete Rule, 16

C.F.R. § 910.1–.6, and the Rule shall not be enforced or otherwise take effect on September 4,

2024, or thereafter. This is a final and appealable judgment. See Fed. R. Civ. P. 54. All relief not

expressly granted is denied.



         SO ORDERED: August 20, 2024.



                                                Ada E. Brown
                                                UNITED STATES DISTRICT JUDGE

FINAL JUDGMENT                                                                           Page 1 of 1
